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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


VLSI TECHNOLOGY LLC,
             Plaintiff,
-vs-                                                                CAUSE NO.:
                                                                 A-19-CV-00977-ADA
INTEL CORPORATION,
             Defendant.


                              ORDER SETTING JURY TRIAL


       IT IS ORDERED that the above-styled case is SET FOR JURY TRIAL regarding the ‘522

and ‘187 Patents on Monday, April 12, 2021, at 9:00 a.m. in Courtroom No. 5, United States

Courthouse, 501 West Fifth Street, Austin, Texas.

       IT IS FURTHER ORDERED that the above-styled case is SET FOR JURY TRIAL

regarding the ‘485, ‘983 and ‘025 Patents on Monday, June 7, 2021, at 9:00 a.m. in Courtroom

No. 5, United States Courthouse, 501 West Fifth Street, Austin, Texas.

       With the parties consent, this matter has been referred to United States Magistrate Judge

Mark Lane for the limited purpose of Jury Selection for each of the jury trials. United States

Magistrate Judge Lane will set jury selections by separate order. Trials will proceed the following

Monday after selection before the Honorable Alan D. Albright, U.S. District Judge.

       If required, a Final Pretrial Conference will be set by separate order.

       IT IS SO ORDERED.

       SIGNED this the 4th day of February 2021.



                                                     ALAN D. ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE
